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18                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MONTANA
19                                      MISSOULA DIVISION
20    JUDITH NEWMAN,                                               Cause No. 9:13-cv-00047-DLC
21    as Personal Representative
      of the Estate of Karlye Newman,                              PLAINTIFF’S BRIEF IN SUPPORT OF
22                                                                 MOTION FOR SUMMARY
                       Plaintiff,                                  JUDGMENT
23    vs.
24    UNITED FIRE AND CASUALTY
25    COMPANY,

26                     Defendant.

27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                                 1
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 1           COMES NOW Plaintiff, and files this Brief in Support of Motion for
 2   Summary Judgment.
 3           This brief is organized as follows:
 4           I.       Summary
 5           II.      Background Facts
 6           III.     Plaintiff’s Standing
 7           IV.      Summary Judgment Test
 8           V.       UFCC’s Policy Language
 9                    A.      Commercial General Liability Policy
10                    B.      Commercial Umbrella Policy
11           VI.      Duty to Defend Rules
12           VII. Interpretation of Insurance Contracts
13           VIII. Liability
14                            UFCC Breached the Duty to Defend.
15           IX.      Damages
16                            For breach of duty to defend, certain damages follow as a
17                            matter of law:
18                                     A. Underlying Judgment
19                                     B. Post-Judgment Interest
20                                     C. Attorney’s Fees and Costs
21           X.       Conclusion
22   I.      Summary
23           This case is straight forward. United Fire and Casualty Company (UFCC)
24   contracted under its Commercial General Liability Policy to defend lawsuits
25   against National Contract Services, LLC (National) that alleged bodily injury
26   arising out of the ownership, maintenance, or use of National’s premises and
27   operations necessary or incidental to those premises. UFCC also contracted to
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                          2
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 1   defend National under its Commercial Umbrella Policy if there was no coverage
 2   under the Commercial General Liability Policy.
 3           UFCC refused to defend National under its Commercial General Liability
 4   Policy even though Plaintiff’s lawsuit clearly alleged injury arising out of the use
 5   of, and incidental to, National’s premises and operations. UFCC failed to define
 6   the terms “arising out of” and “operations”, which are reasonably susceptible to
 7   more than one meaning, and therefore, ambiguous. Under Montana law, such
 8   ambiguity must be strictly construed against the insurer.
 9           UFCC also refused to defend under its Commercial Umbrella Policy even
10   though it was taking the position there was no coverage under the underlying
11   insurance. UFCC refused to follow the process set out by the Montana Supreme
12   Court:
13           1.       defend under reservation of rights until the duty is determined; and
14           2.       file a declaratory judgment action.
15           By refusing to defend, UFCC waived its right to challenge coverage and
16   right to challenge the settlement. The consequences, as a matter of law, include
17   the damages set forth below.
18   II.     Background Facts
19           Karlye Newman died at age 16 on October 7, 2004 in Sanders County,
20   Montana. Statement of Undisputed Facts, ¶ 1. Following Karlye’s death, Plaintiff
21   Judith Newman filed a lawsuit for wrongful death, survivorship, and other causes
22   of action in Sanders County District Court Cause No. DV-06-164. Id. at ¶ 2
23   One of the defendants in that lawsuit was National Contract Services, LLC. Id. at
24   ¶ 3. National was the insured under a United Fire and Casualty Company (UFCC)
25   Commercial General Insurance Policy, and a Commercial Umbrella Liability
26   Policy, both with the policy # 104-60069871. Id. at ¶ 4. National’s office was
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                      3
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 1   located in St. George, Utah. Id. at ¶ 24.
 2           The underlying complaint alleged the following facts:
 3           a.       National was one company of a large web of interlocking companies
 4                    run by a man named Robert Lichfield, who ran behavior modification
 5                    residential programs for youth.
 6           b.       One of the programs was Spring Creek Lodge in Montana.
 7           c.       Karlye Newman resided at Spring Creek Lodge from March 31, 2004
 8                    to October 7, 2004 when she died by suicide.
 9           d.       National purported to provide the following services to Spring Creek
10                    Lodge: marketing, promotion, admissions, seminars, newsletters,
11                    support services, academic course outline, curriculum, manuals,
12                    training outlines, consulting, billing, and collections.
13           e.       National, and the other related businesses, were formed solely for
14                    purposes of facilitating a scheme to defraud the parents who sent their
15                    children to Spring Creek Lodge and for shielding the true owner from
16                    liability.
17           f.       National was jointly liable for a wide range of negligent and
18                    intentional tortious conduct by numerous other named defendants.
19           g.       Karlye Newman was generally neglected and abused at Spring Creek.
20           h.       She became suicidal, and on October 7, 2004, Spring Creek “lost” her
21                    for a period of time and she hanged herself.
22           i.       The untrained, unqualified person who was supposed to be in charge
23                    of Karlye found her hanging, still alive, and rather than helping
24                    Karlye, ran out of the building screaming in panic.
25           j.       Many of the services National claimed to provide Spring Creek
26                    Lodge were inadequate and contributed to Karlye’s suffering and
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                          4
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 1                    eventual death, such as misleading marketing, wrongful admission to
 2                    the program, poor educational services, and negligent training.
 3   Id. at ¶ 5.
 4           National tendered defense of the lawsuit to UFCC. Id. at ¶ 6. UFCC
 5   refused defense and indemnity. Id. at ¶ 7. Because of UFCC’s refusal to defend,
 6   National was forced to pay for its own defense costs and was exposed to potential
 7   financial risk. Id. at ¶ 8.
 8           Plaintiff’s counsel wrote UFCC on January 19, 2010 offering to settle her
 9   claim against National for what counsel believed was the policy limit based on
10   documents produced through discovery. Id. at ¶ 9. UFCC was invited to
11   participate in a February 19, 2010 court-ordered mediation, and was warned that
12   if it failed to appear and participate, Plaintiff may settle with National, resulting in
13   a judgment that UFCC would have to pay. Id. at ¶¶ 10,11. UFCC refused to
14   participate. Id. at ¶ 12.
15           At the mediation, National entered into a compromise settlement agreement
16   with the Plaintiff. Id. at ¶ 13. As part of that settlement, National agreed to entry
17   of a judgment, and assigned to the Plaintiff all of National’s first party claims it
18   might have against UFCC. Id. at ¶ 14.
19           On March 26, 2010, the parties to Sanders County Cause No. DV-06-164
20   appeared before the District Court for hearing, for approval of the settlement
21   agreement, and for entry of the agreed-upon judgment. Id. at ¶ 15. Plaintiff
22   produced testimony and exhibits. Id. at ¶ 16. On March 29, 2010, the District
23   Court entered its Findings, Conclusions, and Order approving the settlement, and
24   awarded judgment against National in the amount of the settlement, $3,000,000.
25   Id. at ¶ 17.
26           UFCC denied defense and indemnity to National on the basis of a
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                        5
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 1   Designated Premises Endorsement in the Commercial General Liability Policy.
 2   Id. at ¶ 18. UFCC provided no analysis on whether there was a duty to defend
 3   under the Commercial Umbrella Policy. Id. at ¶ 19.
 4   III.    Plaintiff’s Standing
 5           Plaintiff brings this action for enforcement of Plaintiff’s third party rights
 6   against UFCC, and also the first party rights of National, pursuant to the
 7   assignment of those rights.
 8   IV.     Summary Judgment Standard
 9           A party moving for summary judgment bears the burden of demonstrating
10   “that there is no genuine dispute as to any material fact and the movant is entitled
11   to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A movant may satisfy that
12   burden where the documentary evidence produced by the parties permits only one
13   conclusion. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251 (1986). The party
14   seeking summary judgment bears the initial burden of informing the Court of the
15   basis for its motion, and identifying those portions of the pleadings, depositions,
16   answers to interrogatories, and admissions on file, together with the affidavits, if
17   any, which it believes demonstrate the absence of any genuine issue of material
18   fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
19           Where the moving party has met its initial burden with a properly supported
20   motion, the party opposing the motion "may not rest upon the mere allegations or
21   denials of his pleading, but . . . must set forth specific facts showing that there is a
22   genuine issue for trial." Anderson, 477 U.S. at 248. And where the nonmoving
23   party bears the burden of proof at trial, the moving party may satisfy its initial
24   burden on summary judgment by showing that there is an absence of evidence in
25   the record to support the nonmoving party’s claims. Celotex, 47 U.S. at 325.
26           Once the moving party has satisfied its initial burden with a properly
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                       6
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 1   supported motion, summary judgment is appropriate unless the non-moving party
 2   designates by affidavits, depositions, answers to interrogatories of admissions on
 3   file, “specific facts showing that there is a genuine issue for trial.” Id. at 324.
 4   The party opposing a motion for summary judgment “may not rest upon the mere
 5   allegations or denials of his pleadings....” Anderson, 477 U.S. at 248.
 6   V.      UFCC’s Policy Language
 7           A.       Commercial General Liability Policy
 8           The relevant coverage language of the UFCC Commercial General Liability
 9   Policy states:
10   COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
     LIABILITY
11
     1.      Insuring Agreement
12
             a.       We will pay those sums that the insured becomes legally obligated
13                    to pay as damages because of “bodily injury” or “property
                      damage” to which the insurance applies. We will have the right
14                    and duty to defend the insured against any “suit” seeking those
                      damages. However, we will have no duty to defend the insured
15                    against any “suit” seeking damages for “bodily injury” or
                      “property damage” to which this insurance does not apply. We
16                    may, at our discretion, investigate any “occurrence” and settle
                      any claim or “suit” that may result.
17
                      * * *
18
             b.       This insurance applies to “bodily injury” and “property damage”
19                    only if:
20                    (1) The “bodily injury” or “property damage” is caused by an
                      “occurrence’ that takes place in the “coverage territory”;
21                    (2) The “bodily injury” or “property damage” occurs during the
                      policy period; and
22
                      * * *
23
     “Bodily injury” means bodily injury, sickness or disease sustained by a
24   person, including death resulting from any of these at any time.
25   “Coverage Territory” means the United States of America (including its
     territories and possessions), Puerto Rico and Canada; . . .
26
     “Occurrence” means an accident, including continuous or repeated exposure
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                       7
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 1   to substantially the same general harmful conditions.
 2   Statement of Undisputed Facts, ¶ 21.
 3           In denying defense to National, UFCC stated:
 4           “The complaint clearly alleges that the deceased hung herself at a location
             known (sic) as Spring Creek, a boarding school not located on the above
 5           described premises. Based on the endorsement, there is no coverage for this
             unfortunate event because it did not occur on the above described
 6           premises.”
 7   Id. at ¶ 20.
 8           The Commercial General Liability Policy’s Designated Premises
 9   Endorsement states:
10         LIMITATION OF COVERAGE TO DESIGNATED PREMISES OR
11                                                   PROJECT
12           This endorsement modifies the insurance provided under the following:
13           COMMERCIAL GENERAL LIABILITY COVERAGE PART
14                                                  SCHEDULE
15    Premises:
16    AS SHOWN ON DEC
17    Project:
18
19 (If no entry appears above, information required to complete this
20 endorsement   will be shown in the Declarations as applicable to his
   endorsement.)
21 This insurance applies only to “bodily injury”, “property damage”, “personal
22 and advertising injury” and medical expenses arising out of:
23       1.    The ownership, maintenance or use of the premises shown in the
               Schedule and operations necessary or incidental to those
24             premises; or

25           2.       The project shown in the Schedule.

26   Id. at ¶ 22. The Premises is listed on the Declarations as: “158 W 1600 S #15, St.

27   George, UT 84770". Id. at ¶ 23.

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 1           B.       Commercial Umbrella Policy
 2           UFCC’s Commercial Umbrella Policy states:
 3   COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
     LIABILITY
 4
             1.       Insuring Agreement
 5
             We will pay on behalf of the insured for ultimate net loss in excess of
 6           the retained limit because of bodily injury or property damage to which
             this insurance applies. No other obligation or liability to pay sums or
 7           performs acts or services is covered unless explicitly provided for under
             SECTION II - DEFENSE AND SUPPLEMENTARY PAYMENTS -
 8           COVERAGES A and B.
 9           It is agreed that:
10           a.       The bodily injury or property damage must occur during the
                      policy period of this policy;
11
             * * *
12
             d.       The bodily injury or property damage must be caused by an
13                    occurrence; and
14           e.       The occurrence must take place in the coverage territory.
15           “Bodily Injury” means bodily injury, sickness or disease sustained by a
             person including death resulting from any of these at any time.
16
             “Coverage Territory” means anywhere in the world if the insured’s
17           responsibility to pay damages is determined in a suit on the merits, in
             the United States of America (including the territories and possessions),
18           Puerto Rico or Canada, on in a settlement we agree to.
19           “Occurrence” means:
20           a.       With respect to bodily injury or property damage, an accident,
                      including continuous or repeated exposure to substantially the
21                    same general harmful conditions. . .
22   SECTION II - DEFENSE AND SUPPLEMENTARY PAYMENTS -
     COVERAGES A AND B
23
             We have the right to associate with the underlying insurer and the
24           insured to defend any claim or suit seeking damages for bodily injury,
             property damage, personal and advertising injury to which this
25           insurance applies. But
26           1.       The amount we will pay for ultimate net loss is limited as
                      described in SECTION IV - LIMIT OF INSURANCE.
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                   9
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 1           2.       We have a duty to defend any claims or suits not covered by any
                      underlying insurance shown in the Declarations; we also have the
 2                    duty to defend such claims or suits if the applicable limit of
                      underlying insurance is exhausted;
 3
             * * *
 4   Id. at ¶¶ 24, 25.
 5   VI.     Duty to Defend Rules
 6           An insurer has a duty to defend its insured from a risk covered by the terms
 7   of an insurance policy. Farmers Union Mut. Ins. Co. v. Staples, 90 P.3d 381, ¶20
 8   (Mont. 2004). The duty to defend is distinct from, and much broader than, the
 9   duty to indemnify. Grindheim v. Safeco Ins. Co. of America, 908 F.Supp. 794,800
10   (D.Mont. 1995)(citing St. Paul Fire & Marine Inc. Co. v. Thompson, 433 P.2d
11   795, 799 (Mont. 1967)). The duty is triggered merely when facts are presented, or
12   when a complaint filed against an insured alleges facts, which, if proven, would
13   bring an event within the insurance policy’s coverage. Staples at ¶20.
14   Furthermore, the obligation exists even if facts alleged in the complaint present a
15   claim for a risk not covered by the policy, if the complaint also alleges facts
16   which, if proven, would present a risk covered by the policy. Staples at ¶21.
17           In light of the broad duty, an insurer is prohibited from developing facts to
18   establish the non-existence of coverage. It is, after all, the allegations in the
19   complaint against the insured which trigger the duty to defend. If the facts of the
20   event as pled in the complaint would expose the insured to liability covered by the
21   policy, then the insurer must defend the insured, even if the subsequent ultimate
22   resolution of disputed facts establishes that the event or risk is not covered by the
23   policy. Staples at ¶23.
24           The duty to defend is triggered when the insured’s liability is even
25   “potentially” within the policy’s coverage. Grindheim at 798, 802. “Unless there
26   exists an unequivocal demonstration that the claim against an insured does not fall
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                         10
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 1   within the insurance policy’s coverage, an insurer has a duty to defend.” Staples
 2   at ¶22. Further, if there is any dispute as to facts relevant to coverage, such factual
 3   disputes must be resolved in favor of finding duty to defend. Staples at ¶24.
 4           If an insurer believes there is a legitimate basis for contesting coverage, the
 5   proper procedure is to defend the insured under a reservation of rights, and file a
 6   declaratory judgment action to resolve the coverage issue. Staples at ¶26, 28. An
 7   insurer cannot unilaterally resolve coverage issues in its favor in lieu of a
 8   declaratory judgment when there are disputed facts relative to the existence of
 9   coverage. Staples at ¶26.
10           As Federal Magistrate Erickson said in his Findings and Recommendations
11   in Nielsen v. TIG Ins. Co., United States District Court of Montana, CV 05-47
12   (2006)(attached as Ex. G to Plaintiff’s Statement of Undisputed Facts for Court’s
13   convenience):
14           I remain amazed at the number of cases that have come before this court and
             the state courts in Montana over the years where presumably sophisticated
15           insurance companies have ignored this maxim of insurance law at their
             peril. To save the relatively minor costs of tendering a defense and
16           commencing a dec. action, these companies have exposed themselves to risk
             far in excess of the policy limits at issue. The reasoning behind this is
17           difficult to fathom.
18   (Page 8, footnote 1.) Magistrate Erickson’s findings were adopted in full by Judge
19   Molloy in Nielsen v. TIG Ins. Co., 442 F. Supp. 2d 972 (D.Mont. 2006).
20           In fact, in Montana the insurer does not even risk the “relatively minor costs
21   of tendering a defense and commencing a dec. action” that Magistrate Erickson
22   spoke of in Nielsen. If the insurer defends under a reservation of rights, and
23   properly files a declaratory judgment action and prevails, the insurer can recover
24   its defense costs from the insured. Travelers Casualty and Surety Co. v. Ribi
25   Immunichem, 108 P.3d 469, ¶50 (Mont. 2005).
26
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                      11
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 1   VII. Interpretation of Insurance Contracts
 2           Unlike most contracts, insurance policy terms are not the result of
 3   negotiation or bargaining. Insurance policies occupy the same status as “take-it-
 4   or-leave-it” adhesion contracts. McAlear v. St. Paul Insurance Companies, 493
 5   P.2d 331, 335 (Mont. 1972); Modroo v. Nationwide Mutual Fire Ins. Co. et al.,
 6   191 P.3d 389, ¶ 61 (Mont. 2008.). The insurance company dictates the terms and
 7   writes the contract.
 8         At the same time, insurance contracts are unique in that, when the consumer
 9   pays the premium, the consumer gets nothing in return but a promise of security in
10   the future. Insurance has huge importance for society, and especially for the
11   individual policy holder. A loss of coverage will often mean financial disaster to
12   the policy holder.
13           For these reasons, courts universally apply interpretation rules to protect the
14   fair expectations and interests of the insured, who did not write the contract.
15           A.       Ambiguous provisions must be interpreted favorably to the
16                    insured.
17           Under Montana law, the court initially determines whether any policy
18   provision at issue is ambiguous. Policy provisions are interpreted “according to
19   their usual, common sense meaning as viewed from the perspective of a
20   reasonable consumer of insurance products.” Stutzman v. Safeco Ins. Co. of Am.,
21   945 P.2d 32, 34 (Mont. 1997). The court must consider the policy provisions from
22   the viewpoint of a consumer of average intelligence. Stutzman, 945 P.2d at 36,
23   citing Leibrand v. Nat’l Farmer Union, 898 P.2d 1220, 1224 (Mont. 1995). Any
24   ambiguity will be strictly construed against the insurer. Wendell v. St. Farm Mut.
25   Auto. Ins. Co., 974 P.2d 623, 628 (Mont. 1999).
26
27
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                       12
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 1           B.       Exclusion terms must be narrowly and strictly interpreted.
 2           Coverage terms are broadly interpreted to find coverage. When interpreting
 3   exclusions in a policy, the court applies a stricter standard. The “protective
 4   purpose of an insurance policy and the obligation of the insurer to provide a
 5   defense require that coverage exclusions be narrowly construed.” Staples at ¶22.
 6   When words constitute an exclusion that, if applicable, would defeat coverage,
 7   they “must be strictly construed against the insurer regardless of whether they are
 8   ambiguous.” Leibrand at 7; Moore v. Safeco Ins. Co, 954 F. Supp. 209, 212 (D.
 9   Mont. 1997). In interpreting exclusion provisions, the threshold inquiry of
10   ambiguity is whether “the contract taken as a whole in its wording or phraseology
11   is reasonably subject to two different interpretations.” Moore, 954 F. Supp. at 212.
12   This is not necessarily the end of the inquiry.
13   VIII. Liability: UFCC Breached the Duty to Defend.
14           UFCC clearly had the duty to defend National under its Commercial
15   General Liability Policy. The language of the Designated Premises Exclusion is,
16   at best, ambiguous, and therefore must be construed in favor of coverage, and
17   Plaintiff. UFCC’s denial fails because it relied on undefined and ambiguous
18   exclusion terms, including the terms “arising out of” and “operations”. Also,
19   UFCC failed to provide any coverage analysis whatsoever for the Commercial
20   Umbrella Policy.
21           Montana courts have held the term “arising out of” ambiguous on many
22   occasions. Pablo at ¶16, followed in Troutt v. Colorado Western Ins. Co., 246
23   F.3d 1150 (9th Cir. 2001): “Therefore, under Montana law, because the term
24   “arising out of” is inherently ambiguous in the insurance context, it has to be
25   construed against the insurer and in favor of the insured.” Troutt, 246 F.3d at
26   1160 (emphasis added.); Hudson v. Edsall, 29 M.F.R. 100 (D. Mont 2001),
27   adopted in 30 M.F.R. 462 (D. Mont. 2002) in which the Court held that “arising
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 1   out of the operations” was ambiguous; see also Fire Insurance Exchange v. Tibi,
 2   51 F.Supp.2d 1065, 1072-73 (D.Mont. 1995).
 3           It is certainly arguable that Karlye’s injuries arose out of the operations
 4   incidental to National’s premises. There is no question the underlying complaint
 5   alleged Karlye Newman suffered “bodily injury” and such injuries were caused, at
 6   least in part, by National’s negligent conduct. Plaintiff alleged that improper
 7   marketing, wrongful admission of Karlye to Spring Creek Lodge, inadequate
 8   educational services, and improper training contributed to her physical suffering
 9   and eventual death. Those services were part of National’s “operations” in Utah.
10           Plaintiff’s interpretation appears to be the only interpretation that makes
11   sense. At page UF000028 of the policy, it says “Coverage territory” includes:
12   “The United States of America (including its territories and possessions, Puerto
13   Rico and Canada. . .)”. If coverage were limited to injuries at the National office,
14   the description of the broader “coverage territory” would make no sense.
15           Montana follows the rule that policy terms must be interpreted, if possible,
16   so that the various terms in the policy are consistent and harmonious, not
17   inconsistent and mutually exclusive, and the Court will not adopt an interpretation
18   which would render the expected coverage illusory, as that would be an
19   unconstitutional denial of substantive due process. Hardy v. Progressive Specialty
20   Ins. Co., 67 P.3d 892, ¶14-27 (Mont. 2003).
21           Also, once National took the position there was no coverage under its
22   Commercial General Liability Policy, it had a duty to defend under its Commercial
23   Umbrella Policy. The underlying complaint alleged bodily injury caused by an
24   occurrence that took place in the coverage territory, as defined in the Commercial
25   Umbrella Policy.
26
27
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 1   IX.     Damages
 2           A.       Underlying Judgment
 3           The law is clear that where an insurer wrongly refuses to defend and
 4   indemnify, and the insured thereafter enters into a settlement, the insurer is
 5   obligated for the entire judgment below. Staples at ¶28-34. UFCC is bound by
 6   the District Court’s judgment.
 7           B.       Post-Judgment Interest
 8           Interest on the judgment is required by §25-9-205 and §27-1-211 Mont.
 9   Code Ann.
10           C.       Attorney’s Fees and Costs
11           Plaintiff brings this action in its own behalf, and also as assignee of
12   National. Plaintiff had to bring this action to prove coverage and for
13   indemnification. The Montana Supreme Court has held that the Plaintiff must be
14   awarded the reasonable attorney’s fees and costs incurred herein. Mountain West
15   Bureau Mut. Ins. Co. v. Brewer, 69 P.3d 652, ¶36 (Mont. 2003).
16           Plaintiff is filing a separate Motion for Attorney’s Fees and Costs pursuant
17   to Rule 54(d)(2) F.R.Civ.P.
18   X.      Conclusion
19           Plaintiff is entitled to summary judgment. There is no genuine dispute as to
20   any material fact. Plaintiff is entitled to judgment as a matter of law because there
21   clearly was a possibility of coverage under UFCC’s policy. UFCC decided to roll
22   the dice, gambling not only its interests, but also the interests of its insured, by
23   using only the interpretation that favored UFCC and ignoring other possible
24   interpretations. The consequence of the breach of duty to defend is that UFCC is
25   estopped from denying coverage, and is now liable for the entire judgment.
26   Plaintiff requests the Court issue summary judgment and declaratory judgment that
27   Plaintiff is entitled to:
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 1           1.       judgment to pay the underlying judgment;
 2           2.       interest on the underlying judgment, and this judgment, at the
 3                    statutory rate (10%); and
 4           3.       attorney’s fees and costs (amount to be determined by separate
 5                    motion).
 6           DATED this 22nd day of April, 2013.
 7                                                                 /s/ Ann L. Moderie
                                                                   Ann L. Moderie
 8                                                                 Counsel for Plaintiff
 9                                CERTIFICATE OF COMPLIANCE
10          The undersigned does hereby certify that pursuant to Local Rule 7.1(d)(2),
     the Plaintiff’s Brief in Support of Motion for Summary Judgment:
11
             •        does not exceed 6500 words (briefs in support of motion and response
12                    briefs) or 3250 words (reply briefs); and
             •        the brief contains 3824, excluding caption, certificate of service, and
13                    certificate of compliance.
14           DATED this 22nd day of April, 2013.
15                                                                 /s/ Ann L. Moderie
                                                                   Ann L. Moderie
16                                                                 Counsel for Plaintiff
17                                    CERTIFICATE OF SERVICE
18         I hereby certify that, on April 22nd , 2013, a copy of the foregoing document
     was served on the following persons by the following means:
19
    X                 CM/ECF
20 ____               Hand Delivery
   ____               Mail
21 ____               Overnight Delivery Service
   ____               Fax
22 ____               Email
23           Stephanie A. Hollar, Esq.
             Dennis P. Clarke, Esq.
24           Smith, Walsh, Clarke & Gregoire, PLLP
             P.O. Box 2227
25           Great Falls, MT 59403-2227
26                                                                 /s/ Ann L. Moderie
                                                                   Ann L. Moderie
27                                                                 Counsel for Plaintiff
28   Plaintiff’s Brief in Support of Motion for Summary Judgment                           16
